Case 2:19-cv-08917-SB-KS Document 30-27 Filed 01/28/21 Page 1 of 2 Page ID #:493




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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
     OCM GROUP USA INC.,                         Case No.: 2:19-cv-08917 SB (KSx)
11

12                      Plaintiff,
                                                 [PROPOSED] ORDER
13
           vs.
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     LIN’S WAHA INTERNATIONAL
15
     CORP, a New York corporation; and
16   DOES 1-10.
17
                        Defendant.
18

19                                   [PROPOSED] ORDER
20         Having read and considered Defendant Lin’s Waha International Corp.’s
21   (“Defendant”) Motion For Summary Judgment on Plaintiff OCM Global USA, Inc.’s
22   (“Plaintiff”) Complaint; or in the alternative, Motion for Summary Judgment on
23   Plaintiff’s Claim for Monetary Damages, the materials filed in support thereof and in
24   opposition thereto, the Court GRANTS Defendant’s Motion.
25         Therefore, IT IS ORDERED AND ADJUDGED that:
26         1. Summary judgment is GRANTED in favor of Defendant on Plaintiff’s First
27   Claim for trademark infringement under 15 U.S.C. § 1114.
28
                                              1
                                            ORDER
Case 2:19-cv-08917-SB-KS Document 30-27 Filed 01/28/21 Page 2 of 2 Page ID #:494




 1         2. Summary judgment is GRANTED in favor of Defendant on Plaintiff’s
 2   Second Claim for Unfair Competition.
 3   [IN THE ALTERNATIVE]
 4         3. Summary judgment is GRANTED in favor of Defendant on Plaintiff’s
 5   prayers for any monetary damages under all of Plaintiff's causes of action.
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 7   IT IS SO ORDERED.
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 9   Dated:__________________
                                                  _______________________________
10                                                Honorable Stanley Blumenfeld, Jr.
11                                                United States District Judge

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                                             ORDER
